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                         Exhibit K-4

         Ohio Settlement Notice – Proof of Claim Form
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                             Chapter 11

Lordstown Motors Corp., et al.,                    Case No. 23-10831 (MFW)
                                                   (Jointly Administered)
                              Debtors.
                                                   Related D.I.: 668, 696 & 699



                OHIO SECURITIES LITIGATION PROOF OF CLAIM FORM

  I.     GENERAL INSTRUCTIONS

          1.     To recover as a member of the Ohio Settlement Class based on your settled claims in
  connection with the above-captioned voluntary bankruptcy petitions under Chapter 11 of Title 11 of
  the U.S. Bankruptcy Code (“Chapter 11 Cases”), and claims against certain of the Debtors and
  David Hamamoto (“Settling Defendants”) in the related proposed class action In re Lordstown
  Motors Corp. Sec. Litig., No. 4:21-cv-00616 (N.D. Ohio) (“Ohio Securities Litigation”), you must
  complete and, on page __ below, sign this Ohio Securities Litigation Proof of Claim form (the “Ohio
  Claim Form” or “Claim Form”).1 If you fail to submit a timely and properly addressed (as
  explained in paragraph ___ below) Claim Form, your claim may be rejected and you may not receive
  any recovery from the Net Ohio Securities Litigation Settlement Fund created in connection with the
  proposed Settlement. Submission of this Claim Form, however, does not assure that you will share
  in the proceeds of the Settlement or that you are eligible for a recovery.

      2.    THIS CLAIM FORM, ACCOMPANIED BY COPIES OF THE DOCUMENTS
  REQUESTED     HEREIN,   MUST    BE     SUBMITTED       ONLINE        AT
  WWW.STRATEGICCLAIMS.NET/LORDSTOWN/ NO LATER THAN           , 2024 OR, IF
  MAILED, BE POSTMARKED NO LATER THAN     , 2024, ADDRESSED AS FOLLOWS:

                                  Lordstown Bankruptcy Settlement
                                   c/o Strategic Claims Services
                                               _____
                                             _______


  1
    The terms of the Settlement are in the Debtors’ Third Modified First Amended Joint Chapter 11
  Plan of Lordstown Motors Corp. and Its Affiliated Debtors (together with all schedules and exhibits
  thereto, and as the same may be modified in accordance with its terms, the “Plan”). All capitalized
  terms not defined in this Claim Form have the same meanings as in the Plan, and the order
  confirming the Plan (the “Confirmation Order”). The Plan and Confirmation Order, among other
  documents, can be viewed at www.strategicclaims.net/lordstown/.

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                                            ______
                               www.strategicclaims.net/lordstown/

        3.      If you are a member of the Ohio Settlement Class and you do not timely and validly
request exclusion in response to the Postcard Notice dated _______, 2024, you are bound by and
subject to all orders entered by the Bankruptcy Court about the Settlement, including the releases
provided therein, WHETHER OR NOT YOU SUBMIT A CLAIM FORM OR RECEIVE A
PAYMENT.

        4.     Copies of a long-form Notice detailing the Settlement may be downloaded at
www.strategicclaims.net/lordstown/. The Notice describes the proposed Settlement, and the manner
in which the Net Ohio Securities Litigation Settlement Fund will be distributed if the Settlement and
Plan of Allocation are approved by the Bankruptcy Court.

 Do Not Call the Bankruptcy Court, LMC or the Debtors’ Claims and Noticing Agent with
                           Questions About this Claim Form.

II.    CLAIMANT IDENTIFICATION

        5.      If you: (i) purchased or otherwise acquired LMC’s publicly traded Class A Common
Stock (ticker: RIDE and prior ticker: “DPHC”), LMC’s publicly traded warrants (ticker: “RIDEW”
and prior ticker: “DPHCW”), LMC’s publicly traded units (ticker: “DPHCU”), or any exchange-
traded option to purchase or sell LMC’s publicly traded Class A Common Stock during the period
from August 3, 2020 through July 2, 2021, inclusive (“Ohio Settlement Class Period” or “Class
Period”), and were damaged thereby; and/or (ii) held LMC’s publicly traded Class A Common
Stock (ticker: “RIDE” and prior ticker: “DPHC”) on September 21, 2020, and held the security in
your name, you are the beneficial owner as well as the record owner. If, however, you purchased or
acquired LMC Securities through a third party, such as a brokerage firm, you are the beneficial
owner and the third party is the record owner.

       6.   Use Part A of this form entitled “Claimant Identification” to identify each beneficial
owner of LMC Securities that forms the basis of this claim. THIS CLAIM MUST BE FILED BY
THE ACTUAL BENEFICIAL OWNERS OR THE LEGAL REPRESENTATIVE OF SUCH
OWNERS.

        7.     All joint owners must sign this claim. Executors, administrators, guardians,
conservators, legal representatives, and trustees must complete and sign this claim on behalf of
persons represented by them and their authority must accompany this claim and their titles or
capacities must be stated. The Social Security (or taxpayer identification) number and telephone
number of the beneficial owner may be used in verifying the claim. Failure to provide the foregoing
information could delay verification of your claim or result in rejection of the claim.

III.   IDENTIFICATION OF TRANSACTIONS

        8.      Use Parts B through E of this form entitled “Schedule of Transactions in LMC
Securities” to supply all required details of your transaction(s) in LMC Securities. If you need more


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space or additional schedules, attach separate sheets giving all of the required information in
substantially the same form. Sign and print or type your name on each additional sheet.

        9.       On the schedules, provide all of the requested information with respect to your
holdings, purchases, and sales of LMC Securities, including whether the transactions resulted in a
profit or a loss. Failure to report all such transactions may result in the rejection of your claim.

       10.     The date of covering a “short sale” is deemed to be the date of purchase of LMC’s
publicly traded common stock. The date of a “short sale” is deemed to be the date of sale.

        11.    On October 23, 2020, the Company issued and sold an aggregate of 50 million shares
of LMC common stock in connection with the closing of a business combination (“PIPE
Transaction”). Purchases pursuant to this PIPE Transaction will have a Recognized Loss Amount of
zero, notwithstanding any other calculation herein.

       12.    LMC common stock traded under the symbol “DPHC” through October 22, 2020 and
experienced a symbol change to “RIDE” on October 23, 2020. LMC warrants traded under the
symbol “DPHCW” through October 22, 2020 and experienced a symbol change to “RIDEW” on
October 23, 2020. LMC units traded under the symbol “DPHCU” until the units were delisted on
October 23, 2020. All outstanding LMC warrants were redeemed for LMC common stock on
January 15, 2021.

        13.    LMC common stock experienced a 1 for 15 reverse stock split on May 23, 2023.
Where Claim Form documentation contains post-split figures, the Claims Administrator will adjust
the shares and prices to their pre-split equivalents.

       14.      Copies of broker confirmations or other documentation of your transactions must be
submitted with your claim. Failure to provide this documentation could delay verification of your
claim or result in rejection of your claim. THE PARTIES DO NOT HAVE INFORMATION
ABOUT YOUR TRANSACTIONS IN LMC SECURITIES.

        15.      NOTICE REGARDING INSTITUTIONAL FILERS: Certain filers submitting claims
on behalf of other beneficial owners (“Representative Filers”) with large numbers of transactions
may request to, or may be asked to, submit information regarding their transactions in electronic
files. (This is different than the online claim portal on the Ohio Settlement Claims Administrator’s
website.) All such Representative Filers MUST also submit a manually signed paper Claim Form
whether or not they also submit electronic copies. Claims should be combined on a legal entity basis,
where applicable. Sub-accounts should be rolled up into a parent account if the sub-accounts contain
the same tax identification number. If you are a Representative Filer and wish to submit your claim
electronically, you must contact the Ohio Settlement Claims Administrator at (866) 274-4004 or visit
their website at https://www.strategicclaims.net/institutional-filers/to obtain the required file layout.
No electronic files will be considered to have been properly submitted unless the Claims
Administrator issues to the claimant a written acknowledgment of receipt and acceptance of
electronically submitted data.




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        16.     NOTICE REGARDING ONLINE FILING: Claimants who are not Representative
Filers may submit their claims online using the electronic version of the Claim Form hosted at
www.strategicclaims.net/lordstown/. If you are not acting as a Representative Filer, you do not need
to contact the Ohio Settlement Claims Administrator prior to filing. You will receive an automated
e-mail confirming receipt once your Claim Form has been submitted. If you are unsure if you should
submit your claim as a Representative Filer, please contact the Ohio Settlement Claims
Administrator at info@strategicclaims.net or (866) 274-4004. If you are not a Representative Filer,
but your claim contains a large number of transactions, the Claims Administrator may request that
you also submit an electronic spreadsheet showing your transactions to accompany your Claim
Form.
                          PART A – CLAIMANT IDENTIFICATION

The Ohio Settlement Claims Administrator will use this information for all communications about
this Claim Form. If this information changes, you MUST notify the Claims Administrator in
writing at the address above. Complete names of all persons and entities must be provided.

 Beneficial Owner’s Name

 Co-Beneficial Owner’s Name

 Entity Name (if claimant is not an individual)

 Representative or Custodian Name (if different from Beneficial Owner(s) listed above)

 Address 1 (street name and number):

 Address 2 (apartment, unit, or box number):

 City                                              State                   ZIP/Postal Code

 Foreign Country (only if not USA)                 Foreign County (only if not USA)

 Telephone Number (home)                           Telephone Number (work)

 Email Address

 Account Number

 Social Security Number (last four digits only)   OR       Taxpayer Identification Number (last four digits
                                                           only)




Claimant Account Type (check appropriate box):


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   Individual (includes joint owner accounts)        Pension Plan             Trust
   Corporation                                       Estate
   IRA/401K                                          Other ______ (please specify)




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                 SCHEDULES OF TRANSACTIONS IN LMC SECURITIES

     PART B - TRANSACTIONS IN LMC PUBLICLY TRADED CLASS A COMMON
                   STOCK (ticker: RIDE and prior ticker: DPHC)

    1. BEGINNING HOLDINGS – State the total number of shares of LMC common stock
    held at the opening of trading on August 3, 2020. If none, write “0” or “Zero.” (Must
    submit documentation.)
    2. PURCHASES DURING THE CLASS PERIOD – Separately list each and every
    purchase or acquisition of LMC common stock from August 3, 2020 through and including
    July 2, 2021 prior to 11:28 AM ET. 2 (Must submit documentation.)
      Date of Purchase           Number of      Purchase Price Per      Total Purchase Price
    (List Chronologically)        Shares              Share        (excluding taxes, commissions,
       (MM/DD/YY)                Purchased                                    and fees)
                                  $              $
                                  $              $
                                  $              $
                                  $              $
                                  $              $
                                  $              $
                                  $              $
    3. NUMBER OF SHARES HELD ON SEPTEMBER 21, 2020: ___________(Must
    submit documentation.)

    4. PURCHASES DURING 90-DAY LOOKBACK PERIOD – State the total number of
    shares of LMC common stock purchased from July 2, 2021 after 11:28 AM ET through and
    including September 29, 2021.3 (Must submit documentation.) ______________

    5. SALES DURING THE CLASS PERIOD AND DURING THE 90-DAY
    LOOKBACK PERIOD – Separately list each and every sale of LMC common stock
    from August 3, 2020 through and including the close of trading on September 29, 2021.
    (Must submit documentation.)



2
  Pursuant to the Plan of Allocation, in the absence of contrary documentation, the Claims
Administrator will assume that any shares purchased/acquired or sold on July 2, 2021 at any price
less than $9.70 per share occurred after the allegedly corrective information was released to the
market at or after 11:28 AM ET, and that any shares purchased/acquired or sold on July 2, 2021 at
any price equal to or greater than $9.70 per share occurred before the release of the allegedly
corrective information at 11:28 AM ET.
3
    Information requested about your purchases from July 2, 2021 through and including the close of
trading September 29, 2021 is needed only in order for the Claims Administrator to confirm that you
have reported all relevant transactions. Purchases during this period are not eligible for a recovery
because they are outside the Class Period.

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       Date of Sale         Number of       Sale Price Per            Total Sale Price
 (List Chronologically)     Shares Sold         Share                (excluding taxes,
     (MM/DD/YY)                                                    commissions and fees)

                                             $                   $
                                             $                   $
                                             $                   $
                                             $                   $
5. ENDING HOLDINGS – State the total number of shares of LMC common stock held
as of the close of trading on September 29, 2021. If none, write “0” or “Zero.” (Must
submit documentation.)


     PART C - TRANSACTIONS IN LMC PUBLICLY TRADED WARRANTS
                 (ticker: RIDEW and prior ticker: DPHCW)


1. BEGINNING HOLDINGS – State the total number of LMC warrants held at the
opening of trading on August 3, 2020. If none, write “0” or “Zero.” (Must submit
documentation.)
2. PURCHASES – Separately list each and every purchase or acquisition of LMC warrants
from August 3, 2020 through the close of trading on January 15, 2021, the date LMC warrants
were redeemed for common stock. (Must submit documentation.)
  Date of Purchase           Number of     Purchase Price Per      Total Purchase Price
(List Chronologically)       Warrants           Warrant       (excluding taxes, commissions,
   (MM/DD/YY)                Purchased                                   and fees)

                             $                $
                             $                $
                             $                $
                             $                $
                             $                $
3. NUMBER OF WARRANTS HELD THROUGH JANUARY 15, 2021 AND
REDEEMED FOR COMMON STOCK: ___________ (Must submit documentation.)

For each LMC warrant held through January 15, 2021 and redeemed for LMC publicly
traded common stock, please follow the formulas above for LMC publicly traded
common stock to report sales and holdings.




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IF YOU NEED ADDITIONAL SPACE TO LIST YOUR TRANSACTIONS YOU MUST
PHOTOCOPY THIS PAGE, ADD THE TRANSACTIONS, AND CHECK THIS BOX



PART D - TRANSACTIONS IN LMC PUBLICLY TRADED UNITS (ticker: DPHCU)


1. BEGINNING HOLDINGS – State the total number of LMC units held at the opening of
trading on August 3, 2020. If none, write “0” or “Zero.” (Must submit documentation.)
____________________________
2. PURCHASES – Separately list each and every purchase or acquisition of LMC units from
August 3, 2020 through the close of trading on October 23, 2020, the date LMC units were
delisted and ceased to trade. (Must submit documentation.)
  Date of Purchase       Number of Units Purchase Price Per      Total Purchase Price
(List Chronologically)     Purchased           Unit         (excluding taxes, commissions,
   (MM/DD/YY)                                                          and fees)

                                $                 $
                                $                 $
                                $                 $
                                $                 $
                                $                 $
3. NUMBER OF UNITS HELD THROUGH OCTOBER 23, 2020 AND REDEEMED
FOR COMMON STOCK: ___________ (Must submit documentation.)

For each LMC unit held through October 23, 2020 and directly associated with the
acquisition of LMC publicly traded common stock, please follow the formulas above for
LMC publicly traded common stock.




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IF YOU NEED ADDITIONAL SPACE TO LIST YOUR TRANSACTIONS YOU MUST
PHOTOCOPY THIS PAGE, ADD THE TRANSACTIONS, AND CHECK THIS BOX




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PART E: SCHEDULE OF TRANSACTIONS IN EXCHANGE-TRADED LMC OPTIONS

                               PURCHASES/REPURCHASES

     A.      I made the following purchases/repurchases of exchange-traded options on LMC
common stock during the period from August 3, 2020 through and including July 2, 2021, inclusive:




                                      SALES/WRITTEN

        B.     I sold/wrote the following exchange-traded put options on LMC common stock
during the period from August 3, 2020 through and including July 2, 2021, inclusive.




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YOU MUST READ AND SIGN THE RELEASE ON PAGE __. FAILURE TO SIGN THE
RELEASE MAY RESULT IN A DELAY IN PROCESSING OR THE REJECTION OF
YOUR CLAIM.

IV.    SUBMISSION TO JURISDICTION OF COURT AND
       ACKNOWLEDGMENT

        17.     By signing and submitting this Ohio Claim Form, the Claimant(s) or the person(s)
acting on behalf of the Claimant(s) certify(ies) that: I (We) submit this Ohio Claim Form under the
terms of the Plan of Allocation described in the Notice available at
www.strategicclaims.net/lordstown/. I (We) also submit to the jurisdiction of the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) with respect to my (our)
claim as an Ohio Settlement Class Member(s) and for purposes of enforcing the releases set forth in
the Ohio Securities Litigation Settlement. I (We) further acknowledge that I (we) will be bound by
and subject to the terms of any final order entered in connection with the Ohio Securities Litigation
Settlement, including the releases set forth therein. I (We) agree to furnish additional information to
the Ohio Settlement Claims Administrator to support this claim, such as additional documentation
for transactions in LMC Securities, if required to do so. I (We) have not submitted any other claim
covering the same transactions in LMC Securities during the Class Period and know of no other
person having done so on my (our) behalf.

V.     RELEASES, WARRANTIES, AND CERTIFICATION

       By signing and submitting this Ohio Claim Form, the Claimant(s) or the person(s) acting
on behalf of the Claimant(s) certify(ies) as follows:

        18.     I (We) hereby warrant and represent that I am (we are) an Ohio Settlement Class
Member as defined in the Settlement, that I am (we are) not excluded from the Ohio Settlement
Class, that I am (we are) not one of the “Released Parties” as defined in the Notice.

        19.     As an Ohio Settlement Class Member, I (we) hereby acknowledge full and complete
satisfaction of, and do hereby fully, finally, and forever compromise, settle, release, resolve,
relinquish, waive, and discharge with prejudice the Released Claims as to each and all of the
Released Parties (as these terms are defined in the Settlement). This release shall be of no force or
effect unless and until the Debtors’ Plan becomes effective.

        20.    I (We) hereby warrant and represent that I (we) have not assigned or transferred or
purported to assign or transfer, voluntarily or involuntarily, any matter released pursuant to this
release or any other part or portion thereof.

       21.     I (We) hereby warrant and represent that I (we) have included information about all
of my (our) purchases and sales of LMC Securities that occurred during the relevant periods and the
number of LMC Securities held by me (us), to the extent requested.

       22.    I (We) certify that I am (we are) NOT subject to backup tax withholding. (If you
have been notified by the Internal Revenue Service that you are subject to backup withholding,


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please strike out the prior sentence.)

      23.     I (We) declare under penalty of perjury under the laws of the United States of
America that all of the foregoing information supplied by the undersigned is true and correct.

       24.     Executed this ____day of ______________, 2024



Signature of Claimant, if any                     Type or print name of Claimant



Signature of Joint Claimant, if any               Type or print name of Joint Claimant



Signature of person signing on behalf             Type or print name of person signing
of Claimant                                       on behalf of Claimant


Capacity of person signing on behalf of Claimant, if other than an individual (e.g.,
Administrator, Executor, Trustee, President, Custodian, Power of Attorney, etc.)

 PLEASE DO NOT CALL THE BANKRUPTCY COURT, LMC OR THE DEBTORS’
CLAIMS AND NOTICING AGENT WITH QUESTIONS ABOUT THIS CLAIM FORM.

REMINDER CHECKLIST:

       1.      You must sign this Claim Form.

    2.  DO NOT HIGHLIGHT THE CLAIM FORM OR YOUR SUPPORTING
DOCUMENTATION.

       3.      Attach only copies of supporting documentation as these documents will not be
returned to you.

       4.      Keep a copy of your Claim Form for your records.

        5.      The Ohio Settlement Claims Administrator will acknowledge receipt of your Claim
Form by mail, within 60 days. Your claim is not deemed submitted until you receive an
acknowledgment postcard. If you do not receive an acknowledgment postcard within 60 days,
please call the Claims Administrator toll free at (866) 274-4004.

        6.     If you move after submitting this Claim Form please notify the Claims Administrator
of the change in your address, otherwise you may not receive additional notices or payment.



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